                                                                                                PARTIAL
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                                           15
                                           16                        UNITED STATES DISTRICT COURT
                                           17                       CENTRAL DISTRICT OF CALIFORNIA
                                           18                      (WESTERN DIVISION – LOS ANGELES)
                                           19
                                           20 GRANT MCKEE and SETH BEALS,                Case No.: CV 17-1941-GW(Ex)
                                              individually and on behalf of all others
                                           21 similarly situated,                        ORDER PARTIALLY
                                                                                         TRANSFERRING CLAIMS OF
                                           22                  Plaintiffs,               PLAINTIFFS TAYLOR FISSE AND
                                                                                         BRYAN REES TO THE EASTERN
                                           23         v.                                 DISTRICT OF NORTH CAROLINA
                                           24 AUDIBLE, INC.,                             Date:      April 19, 2018
                                                                                         Time:      8:30 AM
                                           25                  Defendant.                Crtm:      9D
                                                                                         Judge:     George H. Wu
                                           26                                            Trial Date:NONE SET
                                           27
                                           28
                                                 ORDER GRANTING MTN TO
                                                 TRANSFER VENUE                                Case No. 2:17-cv-1941 GW(Ex)
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                                             1         On March 12, 2018, the Court issued a tentative ruling granting Defendant
                                             2 Audible’s Motion to Dismiss the Second Amended Complaint as to Plaintiffs
                                             3 Taylor Fisse and Bryan Rees for Lack of Personal Jurisdiction. See Dkt No. 87
                                             4 (minute entry attaching ruling on motion to dismiss); Dkt. No. 70 (Audible’s
                                             5 Motion to Dismiss). The parties subsequently informed the Court that in light of
                                             6 the Court’s ruling, they would stipulate to the transfer of Fisse’s and Rees’s claims
                                             7 to the Eastern District of North Carolina to avoid the inefficiency of dismissal and
                                             8 re-filing, subject to Defendant’s reservation of the right to raise any jurisdictional or
                                             9 venue defenses that may exist. For the reasons stated in the Court’s Tentative
                                            10 Ruling on Defendant’s Motion to Dismiss (Dkt. No. 87), and consistent with the
                                            11 parties’ stipulation preserving venue and jurisdictional defenses, the claims of
                                            12 Plaintiffs Taylor Fisse and Bryan Rees are hereby TRANSFERRED to the United
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                                            13 States District Court for the Eastern District of North Carolina.
                                            14         IT IS SO ORDERED.
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                                            16 Dated: May 10, 2018
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                                                                                        GEORGE H. WU, U.S. District Judge
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                                                 ORDER GRANTING MTN TO
                                                 TRANSFER VENUE                            2        Case No. 2:17-cv-1941 GW(Ex)
